      Case 4:16-cv-00164-A Document 21 Filed 07/26/16   Page 1 of 1 PageID 202



                    IN THE UNITED STATES DISTRICT
                         NORTHERN DISTRICT OF TEXA OURT
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                             FORT WORTH DIVISION                                           \
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ERIC PEDROZA,

              Plaintiff,
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                                        §
vs.                                     §   NO. 4:16-CV-164-A
                                        §
NOISE ATTENUATION CONSTRUCTION,         §
LLC,                                    §
                                        §
              Defendant.                §


                   FINAL JUDGMENT AS TO ATTORNEYS' FEES

        Consistent with the order signed on the date of the signing

of this final judgment,

        The court ORDERS, ADJUDGES, and DECREES that plaintiff, Eric

Pedroza, recover from defendant, Noise Attenuation Construction,

LLC, $9,005.17 for attorneys' fees and costs in the above-

captioned action, plus post-judgment interest thereon at the rate

of 0.55%, computed daily on the unpaid balance from the date of

entry of this judgment until the full amount of the judgment is

paid, and compounded annually.

        SIGNED July 26, 2016.




                                                                                   Judge
